   Case: 3:21-cv-00064-TMR Doc #: 35 Filed: 05/19/21 Page: 1 of 2 PAGEID #: 433




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE               Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988             www.ca6.uscourts.gov




                                                 Filed: May 19, 2021




Mr. Richard W. Nagel
Southern District of Ohio at Dayton
200 W. Second Street
Suite 712 Federal Building
Dayton, OH 45402-0000

                     Re: Case No. 21-3294, OH v. Gina Raimondo, et al
                         Originating Case No. : 3:21-cv-00064

Dear Clerk,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/C. Anthony Milton
                                                 Case Manager
                                                 Direct Dial No. 513-564-7026

cc: Mr. Kyser Blakely
    Ms. Sylvia May Davis
    Mr. Benjamin Michael Flowers
    Mr. Bradley Hinshelwood
    Mr. Jack Starcher
    Mr. Mark B. Stern
    Mr. David Meir Zionts

Enclosure
     Case: 3:21-cv-00064-TMR Doc #: 35 Filed: 05/19/21 Page: 2 of 2 PAGEID #: 434




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 21-3294
                                           ________________

                                                                      Filed: May 19, 2021

STATE OF OHIO

                Plaintiff - Appellant

v.

GINA RAIMONDO, in her official capacity as Secretary of Commerce; DEPARTMENT OF
COMMERCE; RON S. JARMIN, Acting Director, U.S. Census Bureau; U.S. CENSUS
BUREAU

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 05/18/2021 the mandate for this case hereby

issues today.



COSTS: None
